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                               UNITED STATES DISTRICT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )      Case No. 1:21-cr-00292-RCL-1
                                              )
CHRISTOPHER WORRELL,                          )
                                              )
       Defendant.                             )

     DEFENDANT’S MOTION TO RECONSIDER THE COURTS ORDER GRANTING
             GOVERNMENT’S MOTION FOR EXTENSION OF TIME
                     TO FILE SUPPLEMENTAL BRIEF

       Defendant, Christopher Worrell, by and through his counsel, tenders this Motion asking

the Court to Reconsider its Order Granting the Governments Request for an Extension of Time.

ECF No. 54. There appears to have a miscommunication between Defendant’s Counsel, and Mr.

Dreher as to our intent to Oppose this motion, as we expressed our intent to do so on May 19,

when we expressed our dismay at the DC Jail’s intentional delays via “foot-dragging”.

Though Counsel admittedly misspoke in the email chain dated today, May, 20 when he wrote

“we don’t oppose an extension as warranted”, when Counsel meant to say “we don’t believe an

extension is warranted.”


       Mr. Worrell opposes this motion for an extension for a simple reason, it is further

evidence of the DC Jail’s inability to treat Mr. Worrell’s serious medical condition in a timely

manner. The DC Jail, The Government, and Howard University Medical Center could not even

furnish a simple report of an examination within two days on order of the District Court. See

ECF No. 50. They cannot be expected to be able to treat Mr. Worrell’s cutaneous follicular

b-cell non-Hodgkin's lymphoma, which according to Dr. Ali, is among the hardest cancers to

treat. Mr. Worrell’s white blood cell cancer, is, again according to Dr. Ali resistant to treatment,

and has gone untreated for seventy days while in the hands of the Government, in violation of

Mr. Worrell’s Fifth and Eighth
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Amendment Rights. See Estelle v. Gamble, 429 U.S. 97, 103-04 (1976); See Bell v. Wolfish, 441

U.S. 520, 535 (1979).


       Mr. Worrell is prepared to proffer, or sign and swear to an affidavit, the extent of his brief

examination. According to Mr. Worrell, this oncologist, Dr. Ali stated that the best doctors for Mr.

Worrell are those who knew him for many years, and that even if Dr. Ali got all the tests ordered

the other doctors know Mr. Worrell more intimately. This oncologist also ordered a number of

tests but stated that these would likely take weeks to be conducted. Dr. Ali ordered no treatment

for Mr. Worrell. Little to no more information will be gained by the Government continuing to

wait days for a report to say the same.


       Just in the days since the hearing, Mr. Worrell has fallen unconscious causing him to

collapse and break his hand. He has experienced periods of dizziness and light-headiness. He has

a large cyst on his back that oozed puss and blood over his wall and shoes. He was denied access

to the medical bay when he felt he was going to pass out again. All indications are that Mr.

Worrell’s health condition is only worsening and further delays will not help the situation.


       Mr. Worrell asks that the Court reconsider and deny the Government’s motion to extend

time to file a supplemental response and furthermore asks the Court to end his pretrial cruel and

unusual punishment and release Mr. Worrell pending trial. The Government has subjected Mr.

Worrell to deliberate indifference to his serious medical condition for seventy days already, a few

more days will not substantially change the Government’s brief, but they could substantially

change Mr. Worrell’s health.
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Date: May 20, 2021                 Respectfully Submitted,



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                                   Attorney for Defendant Christopher Worrell
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                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, May 20, 2021, I caused a copy of the foregoing

document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                      /s/ John M. Pierce
                                                John M. Pierce
